Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 1 of 34




           Exhibit 9
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 2 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 3 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 4 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 5 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 6 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 7 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 8 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 9 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 10 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 11 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 12 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 13 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 14 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 15 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 16 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 17 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 18 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 19 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 20 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 21 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 22 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 23 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 24 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 25 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 26 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 27 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 28 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 29 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 30 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 31 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 32 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 33 of 34
Case 1:01-cv-12257-PBS Document 7554-9 Filed 05/20/11 Page 34 of 34
